               Case 2:08-cr-00440-JAM Document 62 Filed 12/28/10 Page 1 of 2


 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   555 University Avenue, Suite 150
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     GAVRILO SPAICH
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-08-440 JAM
                                         )
 9                     Plaintiff,        )
                                         )                 STIPULATION AND ORDER
10                                       )                 CONTINUING THE DATE FOR
           v.                            )                 SENTENCING AND SETTING A
11                                       )                 NEW SCHEDULE FOR DISCLOSURE
     GAVRILO SPAICH                      )                 OF THE PRE-SENTENCE REPORT
12                                       )
                       Defendant.        )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Gavrilo Spaich, by
15   and through his defense counsel, Bruce Locke, and the United States of America, by and through its
16   counsel, Assistant United. States Attorney Steven Lapham, that the date for sentencing shall be
17   continued from January 18, 2011 to February 22, 2011.
18          It is further stipulated that the Informal Objections shall be provided to the Probation Officer
19   and opposing counsel no later that January 18, 2011; the Final Pre-Sentence Report shall be filed
20   with the Court and disclosed to counsel no later than February 1, 2011; the Motion for Correct of
21   the Pre-Sentence Report shall be filed with the Court and served upon opposing counsel and the
22   Probation Officer no later than February 8, 2011; and the Reply or Statement of Non-Opposition
23   shall be filed with the Court no later than February 15, 2011.
24
25   DATED: December 27, 2010                          /S/ Bruce Locke
                                                   BRUCE LOCKE
26                                                 Attorney for Gavrilo Spaich
27
28
29                                                     1
             Case 2:08-cr-00440-JAM Document 62 Filed 12/28/10 Page 2 of 2


 1
 2
 3
 4   DATED: December 27, 2010               /S/ Bruce Locke
                                        for STEVEN LAPHAM
 5                                      Attorney for the United States
 6
 7
 8
 9
           IT IS SO ORDERED.
10
11   DATED: 12/27/2010                  /s/ John A. Mendez
                                        JOHN A. MENDEZ.
12                                      United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                         2
